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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

Sergio Gonzalez,                        )
                                        )
        Plaintiff,                      )      Case No. 1:16-cv-04507-ODE
                                        )
v.                                      )
                                        )
Fair Jin Group, Inc.,                   )
                                        )
        Defendant,                      )
                                        )

     PLAINTIFFS’ REQUEST FOR ENTRY OF JUDGMENT FOR SUMS
             CERTAIN AND NOTICE OF NON-PAYMENT

        Plaintiff, by and through counsel, files this Request for Entry of Judgment for

Sums Certain, and Notice of Non-Payment.

        This Court on July 25, 2017 granted Plaintiff’s motion to enforce settlement

agreement and ordered Defendant to pay sums certain in the amounts of:

        $ 1,500.00 to Plaintiff Sergio Gonzalez; and

        $ 1,550.00 to Plaintiff’s counsel Hall & Lampros, LLP

See (Doc. 10, at 5-6).

        The July 25 Order required Defendant to deliver the above payments to

Plaintiff’s counsel within ten (10) days of entry of the Order, or August 4, 2017. Id.

at 6.
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      Defendant still has not paid the amounts ordered in the July 25 Order.

Plaintiffs therefore request that Judgment be entered against Defendant in the

following amounts:

      $ 1,500.00 to Plaintiff Sergio Gonzalez; (Doc. 10, at 5-6).

      $ 1,550.00 to Plaintiff’s counsel Hall & Lampros, LLP. (Doc. 10, at 6).

      Plaintiffs attach a proposed Judgment.

      Respectfully submitted this the 8 August 2017.

                                      HALL & LAMPROS, LLP

                                      /s/ Gordon Van Remmen
                                          Christopher B. Hall
                                          Gordon Van Remmen
                                          Hall & Lampros, LLP
                                          1230 Peachtree St. NE
                                          Suite 950
                                          Atlanta, GA 30309
                                          Tel.: (404) 876-8100
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                                          chall@hallandlampros.com
                                          gordon@hallandlampros.com




I hereby certify that this Request was drafted in 14 pt Times New Roman font.




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                        CERTIFICATE OF SERVICE

      I hereby certify that on August 8, 2017, I electronically filed the forgoing

Plaintiffs’ Request for Entry of Judgment and Notice of Non-Payment with the

Clerk of the Court using the CM/ECF system. I have also mailed the forgoing to

Defendant’s address on the docket:

                               Fair Jin Group, Inc.
                               c/o Tao Hua Jin
                               701 Highland Ave. NE
                               Atlanta, GA 30312


      This, August 8, 2017.



                                             /s/ Gordon Van Remmen
                                             Gordon Van Remmen




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